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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                            CASE NO. 3:94cr3012 LAC

RAY ANTHONY WILLIAMS

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on August 15, 2008
Motion/Pleadings: OBJECTIONS TO THE COURT’S ORDER OF 8/1/08 and MOTION
OBJECTION TO GOVERNMENT RESPOND TO PETITIONER’S MOTION TO DISMISS
INDICTMENT FOR SUBJECT MATTER JURISDICTION, CONSTRUCTIVE AMENDMENT
AND STRUCTURAL ERROR DATED 7/16/08
Filed by DEFENDANT PRO SE              on 8/13/08   Doc.# 825 & 826

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,      it   is    ORDERED    this    15 th   day   of
August, 2008, that:
(a) The relief requested is DENIED.
(b) Motion to dismiss indictment has been denied (doc 813).




                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
